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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 MATTHEW HANEY, as Trustee of the                           C.A. No. 1:21-cv-10718-JGD
 Gooseberry Island Trust
       Plaintiff

 v.

 TOWN OF MASHPEE, and JONATHAN
 FURBURSH, WILLIAM A. BLAISEDELL,
 SCOTT GOLDSTEIN, NORMAN J. GOULD,
 BRADFORD H. PITTSLEY, and SHARON
 SANGELEER, as they are members and are
 collectively the ZONING BOARD OF
 APPEALS OF THE TOWN OF MASHPEE,
         Defendants

                      MOTION FOR LEAVE TO FILE
              MEMORANDUM OF LAW IN EXCESS OF TWENTY PAGES

       Pursuant to Local Rule 7.1(B)(4) the Defendant hereby moves this Honorable Court for

leave to file a memorandum of law in excess of twenty pages in support of their Memorandum of

Law in Support of Defendants’ Motion to Dismiss Plaintiff’s Complaint. As reasons therefore,

the Defendant states that a memorandum in excess of twenty (20) pages is necessary to address

the complex issues raised in the Plaintiff’s Motion. The Defendants state that an effort was made

to attempt to reduce the length of the memorandum to twenty (20) pages. The Defendant

requests that this Honorable Court grant it leave to file a memorandum of law that is twenty-six

(26) pages in length.

Conclusion

       For the above stated reasons, the defendant requests that this Court grant the Defendants’

Motion.
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                                              Respectfully submitted,
                                              DEFENDANTS,
                                              Town of Mashpee, Jonathan Furbush, William A.
                                              Blaisedell, Scott Goldstein, Norman J. Gould,
                                              Bradford H. Pittsley, and Sharon Sangeleer,
                                              By its attorneys:


                                              __/s/ Joseph A. Padolsky ________
                                              Douglas I. Louison (BBO #545191)
                                              Email: Dlouison@lccplaw.com
                                              Joseph A. Padolsky (BBO #679725)
                                              Email: Jpadolsky@lccplaw.com
                                              Louison, Costello, Condon & Pfaff, LLP
                                              101 Summer Street
                                              Boston, MA 02110
                                              617-439-0305
                                              FAX: 617-439-0325
Date: June 30, 2021


            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)


       Pursuant to Local Rule 7.1(A)(2), counsel for the Defendants, Town of Mashpee,
Jonathan Furbush, William A. Blaisedell, Scott Goldstein, Norman J. Gould, Bradford H.
Pittsley, and Sharon Sangeleer certify that they have attempted to confer with counsel for the
Plaintiff in an attempt in good faith to resolve or narrow the issues in this motion.

                                       /s/ Joseph A. Padolsky
                                       Joseph A. Padolsky



                                 CERTIFICATE OF SERVICE

        I, Joseph A. Padolsky, hereby certify that on June 30, 2021, I served the foregoing by
causing a copy to be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and/or paper copies will be sent to those indicated as non-registered
participants.


                                       /s/ Joseph A. Padolsky
                                       Joseph A. Padolsky
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